Case 1:01-cr-00310-HG Document 1-4 Filed 08/06/01 Page 1of1 PagelD.1

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF HAWAII

CIVIL No.

(District Court, First
Circuit, Honolulu
Division, Citation

Nos. 034721A and 0347223)

STATE OF HAWAII,
Plaintiff,
Vs.
JOHANNES C. LINSCHOTEN,

CERTIFICATE OF SERVICE
Defendant.

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CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a true and correct copy of the
foregoing document was duly served upon the following person by
depositing said copy in the United States Mail, postage prepaid,
on this date:

Peter B. Carlisle

Prosecuting Attorney

Department of the Prosecuting Attorney

City & County of Honolulu

1060 Richards Street

Honolulu, Hawaii 96813

CATED: August 6, 2001, at Honolulu, Hawaii.

nosigfit

MYRA Y. PETERSON

